Case 08-14631-GMB   Doc 626-2 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Affidavit Page 1 of 4
Case 08-14631-GMB   Doc 626-2 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Affidavit Page 2 of 4
Case 08-14631-GMB   Doc 626-2 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Affidavit Page 3 of 4
Case 08-14631-GMB   Doc 626-2 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Affidavit Page 4 of 4
